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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                   Case No. 06-CR-20411

RUDOLPH DALRON WILLIAMS, et al.,

             Defendants.
                                               /

        ORDER DENYING DEFENDANT’S “MOTION TO SUPPRESS BLOOD
     IDENTIFICATION DNA TESTIMONY, OR IN THE ALTERNATIVE CONDUCT
                          DAUBERT HEARING”

      Pending before the court is Defendant Rudolph Williams’ “Motion to Suppress

Blood Identification DNA Testimony, or in the Alternative Conduct Daubert Hearing,”

filed on October 16, 2009. Defendant Frank Pierce joins in this motion. The

Government filed a response on October 27, 2009. Having reviewed the briefs, the

court concludes a hearing on this motion is unnecessary. See E.D. Mich. LR 7.1(e)(2).

For the reasons stated below, the court will deny Defendants’ motion.

                                   I. BACKGROUND

      Defendants Rudolph Dalron Williams, Frank Pierce, Daryl Pierce, Derrick Young,

and Clarence Jackson were charged in an indictment with conspiracy with intent to

distribute controlled substances and with killing a person while engaged in an offense

punishable under 18 U.S.C. § 924(c). The Government alleges that Defendants lured

Antonio Brown to a house at 12915 Stahelin St., Detroit, Michigan, where they

handcuffed and beat him. (Gov’t’s Resp. at 1.) Thereafter, the Government alleges that

Defendants moved Brown to other locations and eventually killed him. (Id.)
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       Upon execution of a search warrant at 12915 Stahelin, police found traces of

human blood. (Id.) The blood was then sent to Bode Technology in Lorton, Virginia.

(Defs.’ Mot. Br. at 2.) Julie Hutchison of Bode Technology issued a forensic case report

dated April 25, 2007, based on the analysis of six items of evidence submitted for DNA

analysis. (Id.) The report states that “the profile obtained from one of the samples

submitted matches the known profile obtained from Antonio Brown.” (Id.) The profile

that matched Brown’s DNA came from the bloodstain at 12915 Stahelin. (Id.)

       Defendants filed the present motion seeking to exclude the proposed blood

identification DNA testimony of Julie Hutchinson. (Defs.’ Mot. at 1.) Defendants object

to the admission of Hutchinson’s report because “[o]nly two of the thirteen loci are in

common between the known Antonio Brown DNA and the so called ‘matched’ sample.”

(Defs.’ Mot. Br. at 2.)

                                      II. DISCUSSION

                             A. Federal Rule of Evidence 702

       Defendant argues that because only two of the loci were common between the

known and unknown blood samples, the testimony is not based on sufficient facts or

data under Federal Rule of Evidence 702. (Defs.’ Mot. Br. at 4.) In its response, the

Government asserts that DNA evidence is admissible in criminal trials and that

Defendant’s attack goes to the weight, not the admissibility of the evidence. (Gov’t’s

Resp. at 1-4.)

       Federal Rule of Evidence 702 provides that:

       If scientific, technical or other specialized knowledge will assist the trier of
       fact to understand the evidence or to determine a fact in issue, a witness
       qualified as an expert by knowledge, skill, experience, training, or
       education, may testify thereto in the form of an opinion or otherwise, if (1)

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       the testimony is based upon sufficient facts or data, (2) the testimony is
       the product of reliable principles and methods, and (3) the witness has
       applied the principles and methods reliably to the facts of the case.

In Daubert v. Merrell Dow Pharmaceuticals, Inc., the Supreme Court held that, when

faced with a proffer of expert scientific testimony, the trial judge is assigned “the task of

ensuring that an expert’s testimony both rests on a reliable foundation and is relevant to

the task at hand.” 509 U.S. 579, 597 (1993). The trial judge is to consider “whether the

reasoning or methodology underlying the testimony is scientifically valid” and “whether

that reasoning or methodology properly can be applied to the facts in issue.” Id. at

592-93. In making this determination, the following factors are considered: (1) “whether

it can be (and has been) tested,” (2) “whether the theory or technique has been

subjected to peer review and publication,” (3) “the known or potential rate of error,” and

(4) “general acceptance” in the “relevant scientific community.” Id. at 593-94. Although

this is a flexible inquiry, the trial judge’s focus “must be solely on principles and

methodology, not on the conclusions that they generate.” Id. at 594-95. When

determining the admissibility of expert testimony, “[t]he district court is not obligated to

hold a Daubert hearing.” Clay v. Ford Motor Co., 215 F.3d 663, 667 (6th Cir. 2000).

                                        1. Relevance

       The court concludes that the DNA evidence is relevant to the case and will assist

the trier of fact to determine a fact in issue. See Daubert, 509 U.S. at 592. Hutchison’s

testimony that the DNA profile of the bloodstain found by police at 12915 Stahelin

matched the victim’s DNA profile is evidence that the victim was at this house and was

bleeding. If other evidence links Defendants to that house, then a jury could conclude

that it is more likely that they were involved in the victim’s murder.


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                                       2. Reliability

       It is well-settled that the principles and methodology underlying DNA testing are

scientifically valid. United States v. Beverly, 369 F.3d 516, 528 (6th Cir. 2004) (“The

use of nuclear DNA analysis as a forensic tool has been found to be scientifically

reliable by the scientific community for more than a decade.”); United States v. Bonds,

12 F.3d 540 (6th Cir. 1993). In Bonds, a magistrate judge held a six-week hearing on

the admissibility of forensic DNA testimony and evidence, and the district court admitted

this evidence. 12 F.3d at 551. On review, the Sixth Circuit conducted an extensive

Daubert analysis of the principles and methodology underlying DNA testing and held

“that the testimony proffered by the Government about the DNA matching and

probabilities easily met the Daubert standard and was admissible under Rule 702.” Id.

at 566. Over ten years later, in Beverly, the Sixth Circuit addressed the admissibility of

mitochondrial DNA testing, which is “not as precise an identifier as nuclear DNA” and

cannot “identify individuals with the precision of conventional DNA analysis.” 369 F.3d

at 529, 531. The court concluded that the mitochondrial DNA analysis was admissible

under Daubert because the “scientific basis for the use of such DNA is well

established,” the testing methods utilized by the analyst were sufficiently reliable, and

“[a]ny issues going to the conduct of the specific tests in question were fully developed

and subject to cross examination.” Id. at 531.

       In this case, Defendants cannot challenge the validity of DNA testing generally,

and indeed they acknowledge that “DNA expert testimony has been widely approved by

the courts as a valid procedure for making identification of blood samples.” (Defs.’ Mot.

Br. at 5.) Instead, Defendants contend Ms. Hutchison’s testimony is inadmissible


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because she “has unjustifiably employed a valid procedure to reach an unfounded

conclusion.” (Id.) However, the focus of the Daubert inquiry is “solely on principles and

methodology, not on the conclusions that they generate.” Daubert, 509 U.S. at 594-95.

As the Bonds court explained, “[t]he assessment of the validity and reliability of the

conclusions drawn by the expert is a jury question; the judge may only examine whether

the principles and methodology are scientifically valid and generally accepted.” Bonds,

12 F.3d at 563. Defendants have provided no argument or evidence demonstrating that

the principles and methodology of DNA testing utilized by Bode Technology are

scientifically invalid. Assessment of Hutchison’s conclusion is a question for the jury,

and Defendants will have ample opportunity at trial to cross-examine her regarding it.

See Daubert, 509 U.S. at 596 (“Vigorous cross-examination, presentation of contrary

evidence, and careful instruction on the burden of proof are the traditional and

appropriate means of attacking shaky but admissible evidence.”).

       As such, Defendant’s argument goes to the weight, not the admissibility of the

evidence. DNA analysis, as with most scientific inquiries, is about probabilities, not

absolutes. See Daubert, 509 U.S. at 590 (“[T]here are no certainties in science.”). In

this case, a match of two out of thirteen loci has some statistical probability associated

with it. See generally Bonds, 12 F.3d at 550-51. The Sixth Circuit addressed a similar

argument using the following example: the statistical DNA evidence was “essentially

equivalent to finding that the last two digits of a license plate of a car owned by

defendant matched the last two numbers of a license plate of a getaway car. It would

be some evidence-not conclusive, but certainly admissible.” Beverly, 369 F.3d at 530.

Even if matching two out of thirteen loci does not provide conclusive evidence that the


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bloodstain at the house was that of the victim, it would seem to provide at least some

evidence. The procedures from which this conclusion was drawn are scientifically

sound; if Defendants want to challenge Hutchison’s conclusion, they are free to do so

by cross-examining Hutchison or offering their own expert. Accordingly, the court finds

that Hutchison’s testimony based on the DNA analysis is admissible under Rule 702,

subject to the Government laying a proper foundation for the admissibility of this expert

testimony. The court concludes that a Daubert hearing is unnecessary.

                            B. Federal Rule of Evidence 403

       Federal Rule of Evidence 403 states that “evidence may be excluded if its

probative value is substantially outweighed by the danger of unfair prejudice, confusion

of the issues, or misleading the jury, or by considerations of undue delay, waste of time,

or needless presentation of cumulative evidence.” Fed. R. Civ. P. 403. “‘Unfair

prejudice,’ as used in Rule 403, does not mean the damage to a defendant’s case that

results from the legitimate probative force of the evidence; rather, it refers to evidence

which tends to suggest a decision on an improper basis.” United States v. Mendez-

Ortiz, 810 F.2d 76, 79 (6th Cir. 1986). Rule 403 is a “rule of inclusion” and therefore the

court “must view the evidence in the light most favorable to its proponent, the

government, and maximize its probative value.” United States v. McCutchen, 150 F.

App’x 517, 523 (6th Cir. 2005).

       As explained above, the probative value of the DNA testimony is that it provides

some evidence that the victim was at 12915 Stahelin and that he was bleeding while at

that address. If other evidence links Defendants to that address, then a jury could

conclude that it is more likely that they were the ones that murdered the victim.


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       The unfair prejudice to Defendants of this testimony is slight. It is true that jurors

in general may be inclined to place greater weight on scientific testimony. See

McDaniel v. Brown, --- S. Ct. ---, No. 08-559, 2010 WL 58361, at *9 (Jan. 11, 2010)

(“Given the persuasiveness of [DNA] evidence in the eyes of the jury, it is important that

it be presented in a fair and reliable manner.”) However, Defendants have not

demonstrated that this evidence will be presented unfairly, and at trial, they will be free

to attack the ultimate conclusion derived from the DNA analysis by cross-examination or

their own expert.

       Moreover, the evidence does not directly inculpate the Defendants, but instead

merely provides some evidence that the victim was bleeding at a particular address.

There are two juror tendencies that must be guarded against with respect to DNA

evidence:

       (1) that the jury will accept the DNA evidence as a statement of source
       probability (i.e., the likelihood that the defendant is the source of the
       evidentiary sample); and (2) that once the jury settles on a source
       probability, even if correctly, it will equate source with guilt, ignoring the
       possibility of non-criminal reasons for the evidentiary link between the
       defendant and the victim.

United States v. Chischilly, 30 F.3d 1144, 1156 (9th Cir. 1994). Neither of these

concerns applies to this case. The analyst’s conclusion was not that the Defendants’

DNA was found on the victim, which would present source and guilt probability

concerns, but instead her conclusion was that the DNA from a bloodstain at a particular

residence matched the victim’s DNA.

       Further, just because the evidence, when combined with other evidence, may

damage Defendants’ cases, this does not mean that the prejudice is unfair. Mendez-

Ortiz, 810 F.2d at 79. The testimony does not incite, inflame, arouse the sympathy of

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the jurors, or suggest a decision based on an improper basis. It is merely “some

evidence” that the victim had lost blood at 12915 Stahelin, and there is nothing unfair

about this proposition to Defendants.

            In conducting the Rule 403 balancing test, the court finds that the danger of

unfair prejudice does not substantially outweigh the probative value of admitting the

blood identification DNA testimony. Accordingly, Defendant’s motion will be denied.

                                                        III. CONCLUSION

           IT IS ORDERED that Defendants’ “Motion to Suppress Blood Identification DNA

Testimony, or in the Alternative Conduct Daubert Hearing” [Dkt. # 150] is DENIED.


                                                                   S/Robert H. Cleland
                                                                  ROBERT H. CLELAND
                                                                  UNITED STATES DISTRICT JUDGE

Dated: January 15, 2010

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, January 15, 2010, by electronic and/or ordinary mail.


                                                                   S/Lisa G. Wagner
                                                                  Case Manager and Deputy Clerk
                                                                  (313) 234-5522




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